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      Yitai Hu (SBN 248085)
 1
      NORTON ROSE FULBRIGHT US LLP
 2    555 California Street Suite 3300
      San Francisco, CA 94104
 3    Tel: (628) 231-6808
      Fax: (628) 231-6799
 4    yitai.hu@nortonrosefulbright.com
 5
      Charles B. Walker, Jr. (pro hac vice to be filed)
 6    NORTON ROSE FULBRIGHT US LLP
      Fulbright Tower
 7    1301 McKinney, Suite 5100
      Houston, Texas 77010-3095
 8    Tel: (713) 651-5151
 9    Fax: (713) 651-5246
      charles.walker@nortonrosefulbright.com
10
      Valerie K. Barker (pro hac vice to be filed)
11    NORTON ROSE FULBRIGHT US LLP
      98 San Jacinto Boulevard, Suite 1100
12    Austin, Texas 78701-4255
13    Tel: (512) 536-3073
      Fax: (512) 536-4598
14    valerie.barker@nortonrosefulbright.com

15    Attorneys for Plaintiff Zhuhai CosMX Battery Company, Limited
16
                                  UNITED STATES DISTRICT COURT
17
                               NORTHERN DISTRICT OF CALIFORNIA
18

19     Zhuhai CosMX Battery Company, Limited
20
              Plaintiff,
21
       v.                                                      Civil Action No. 3:22 cv 4510
22
       Ningde Amperex Technology Limited,
23                                                            DEMAND FOR JURY TRIAL
24
              Defendant.
25

26               PLAINTIFF’S COMPLAINT FOR DECLARATORY JUDGMENT
27          Plaintiff Zhuhai CosMX Battery Company, Limited (“CosMX” or “Plaintiff”), for its
28
     complaint against Defendant Ningde Amperex Technology Limited (collectively “ATL” or


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     “Defendant”) alleges as follows:
 1

 2                                         NATURE OF ACTION

 3          1.      CosMX brings this action seeking a declaratory judgment that the CosMX lithium

 4   ion battery products, including but not limited to those for use in electronic devices such as laptops,

 5   smartphones, and tablets (collectively referred to as the “CosMX Products”) do not infringe any
 6
     of the following patents (collectively referred to as the “Asserted Patents”):
 7
                 a. U.S. Patent No. 10,833,363 (“the ’363 Patent,” attached as Exhibit 1), and
 8
                 b. U.S. Patent No. 10,964,987 (“the ’987 Patent,” attached as Exhibit 2).
 9
            2.      CosMX seeks declaratory judgment that it has not infringed, induced others to
10

11   infringe, or contributed to the infringement by others under 35 U.S.C. § 271 (or any subsection

12   thereof) of the Asserted Patents.
13          3.      CosMX further seeks declaratory judgment that CosMX’s customers have not
14
     infringed and do not infringe under 35 U.S.C. § 271 (or any sub-section thereof) any claim of the
15
     Asserted Patents based on their purported making, sale, offer for sale, importation, and/or use of
16
     CosMX’s products based on their purported making, using, importing, offering to sell, or selling
17

18   products and/or services that include CosMX’s products.

19          4.      CosMX also seeks to enjoin Defendant and its officers, employees, and agents from

20   (1) alleging that CosMX or its customers infringe the Asserted Patents; (2) taking any action to
21   suggest that CosMX or its customers require a license from Defendant for use of the Asserted
22
     Patents; or (3) pursuing infringement actions against CosMX’s customers on the basis of those
23
     customers’ making, sale, offer for sale, importation, and/or use of CosMX’s lithium ion battery
24
     products, or on the basis of their making, using, importing, offering to sell, or selling products
25

26   and/or services that include CosMX’s lithium ion battery products.

27          5.      CosMX seeks this necessary relief because there is a real and substantial risk that

28   ATL will imminently file a lawsuit against the CosMX Products for infringement of the Asserted


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     Patents. ATL has accused CosMX of patent infringement as part of its efforts to license its patents
 1

 2   to CosMX. Recently, ATL sued CosMX for patent infringement on two different patents in the

 3   Eastern District of Texas after sending CosMX a letter accusing CosMX of infringing those

 4   patents. Now, ATL identified the Asserted Patents in a separate letter to CosMX, creating a real
 5   threat that ATL will imminently sue CosMX or its customers for infringement.
 6
            6.      ATL’s allegations have cast inappropriate uncertainty over CosMX and the CosMX
 7
     Products and have created a concrete and immediate justiciable controversy between CosMX and
 8
     Defendant.
 9

10          7.      ATL’s allegations against CosMX Products lack merit. CosMX does not infringe

11   any claim of the Asserted Patents. The CosMX Products do not infringe any claim of the Asserted

12   Patents. Nor do CosMX’s customers infringe any claim of the Asserted Patents through their
13
     making, using, importing, offering to sell, or selling products and/or services that include the
14
     CosMX Products. Accordingly, CosMX brings this case to clear its name and that of the CosMX
15
     Products, and to protect is customers against meritless claims of infringement.
16
            8.      An actual and justiciable controversy therefore exists under 28 U.S.C. §§ 2201–
17

18   2202 between CosMX and ATL as to whether CosMX is infringing or has infringed the Asserted

19   Patents.
20
                                                PARTIES
21
            9.      Plaintiff CosMX is a Chinese corporation having a principal place of business at
22

23   No. 209, Zhufeng Road, Doumen District, Zhuhai 519180, P.R. China.

24          10.     Upon information and belief, Defendant Ningde Amperex Technology Limited is

25   a Chinese corporation with a principal place of business at No.1 Xingang Road, Zhangwan Town,
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     Jiaocheng District, Ningde City, Fujian Province, P.R. China. Upon information and belief,
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     Defendant is a wholly-own subsidiary of Amperex Technology Limited, located at 3503/F, 9
28


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     Haisheng Road, Tsuen Wan, Hong Kong, 3503, P.R. China, which itself is a wholly-owned
 1

 2   subsidiary of TDK Corporation of Japan.

 3
                                         JURISDICTION & VENUE
 4
             11.      This action arises under the Declaratory Judgment Act, 28 U.S.C. §§ 2201 et seq.
 5
     and under the patent laws of the United States of America, 35 U.S.C. §§ 1 et seq. This Court has
 6
     subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1338(a).
 7

 8           12.      Because this action presents an actual controversy with respect to the

 9   noninfringement of the Asserted Patents, the Court may grant the declaratory relief sought
10   pursuant to 28 U.S.C. §§ 2201 and 2202.
11
             13.      This Court has personal jurisdiction over ATL by virtue of its sufficient minimum
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     contacts with this forum based on business it conducts within the State of California, including in
13
     this judicial district.
14

15           14.      Defendant is subject to this Court’s specific and general personal jurisdiction under

16   due process and/or the California Long Arm Statute due at least to Defendant’s substantial business

17   in this forum, engaging in other persistent courses of conduct, initiating and participating in active
18   litigation, including bringing claims of patent infringement, in California, and/or deriving
19
     substantial revenue from licensing its patents and from other goods and services provided to
20
     individuals in California and in this District.
21
             15.      Upon further information and belief, Defendant has also established minimum
22

23   contacts with this District and regularly transacts and does business within this District, including

24   advertising, promoting and selling products over the internet, through intermediaries,

25   representatives and/or agents located within this District, including selling or having sold batteries
26
     and other Defendant products in the District.
27
             16.      Upon further information and belief, Defendant has purposefully directed
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     activities at citizens of California and located within this District.
 1

 2           17.     Venue in the Northern District of California is proper pursuant to 28 U.S.C.

 3   § 1391(c)(3) because Defendant is not a resident in the United States and thus may be sued in

 4   any judicial district.
 5           18.     Venue in this district is also proper per 28 U.S.C. §§ 1391(b)(2) and 1400(b)
 6
     because a substantial part of the events giving rise to the claims in this action occurred in this
 7
     District.
 8

 9                                      FACTUAL BACKGROUND
10           19.     Founded in 2007, CosMX is the world leader in the lithium ion battery industry.
11
     CosMX is a top supplier of polymer lithium ion batteries and its customers include the world’s top
12
     electronics companies. CosMX technology is found in the most well-known electronic products
13
     today, including top-selling smartphones, laptops, and tablets. CosMX is a champion for
14

15   environmentally sustainable technology and builds life-cycle considerations into all of its products,

16   including its industry-leading rechargeable lithium ion batteries. CosMX has devoted tremendous

17   monetary and human resources into the research and development of lithium-ion batteries and has
18   developed leading-edge technical technologies and know-how. In addition, CosMX has
19
     accumulated broad coverage in intellectual property protection of its products.
20
             20.     ATL approached CosMX in June 2021 via letter (Exhibit 3). In its letter, ATL
21
     alleged that the CosMX Products infringe ATL’s patents, specifically the ’987 Patent, U.S. Patent
22

23   No. 10,541,441, and U.S. Patent No. 10,971,706. ATL offered to engage in discussions to resolve

24   the matter.

25           21.     On June 21, 2022, ATL sent another letter (Exhibit 4) to CosMX, alleging
26
     infringement of U.S. Patent Nos. 10,971,706 and 11,329,352.
27
             22.     On June 24, 2022 ATL brought a lawsuit against CosMX in the Eastern District of
28


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     Texas alleging infringement of U.S. Patent Nos. 10,971,706 and 11,329,352 by CosMX’s lithium
 1

 2   ion battery products. See Ningde Amperex Tech. Ltd. v. Zhuhai CosMX Battery Co., Ltd., Case No.

 3   2:22-cv-00232-JRG (E.D. Tex.).

 4          23.     On August 2, 2022, ATL sent a third letter to CosMX (Exhibit 5), alleging
 5   infringement of the Asserted Patents by CosMX Products.
 6
            24.     Consequently, CosMX has a reasonable apprehension, and there exists a substantial
 7
     risk, that Defendant will imminently file an action against CosMX or its customers and allege that
 8
     CosMX infringes directly and/or indirectly the Asserted Patents. ATL’s claims and allegations
 9

10   have cast uncertainty over CosMX and its products and have created a concrete and immediate

11   justiciable controversy between CosMX and Defendant. CosMX thus brings this case to clear its

12   name and that of the CosMX Products, and to protect itself and its customers against meritless
13
     claims of infringement and against the disruptive impact of an uncertain lawsuit.
14

15                       COUNT I – DECLARATORY JUDGMENT OF
                      NON-INFRINGEMENT OF U.S. PATENT NO. 10,833,363
16
            25.     CosMX realleges and incorporates paragraphs 1 to 24 as if fully set forth herein.
17
            26.     Upon information and belief, Ningde Amperex Technology Limited is the owner
18

19   of the ’363 Patent, entitled “Electrolyte and electrochemical device.” The ’363 Patent issued on

20   November 10, 2020. A true and correct copy of the ’363 Patent is attached as Exhibit 1.

21          27.     The CosMX Products do not infringe the ’363 Patent under any sub-section of
22   35 U.S.C. § 271 because they do not meet all the claim limitations of any claim of the ’363 Patent.
23
            28.     As an example, the weight percentage of dinitrile compound and the weight
24
     percentage of the trinitrile compound is less than 2 wt % in CosMX Products and therefore does
25
     not meet the requirement of all claims in the ’363 Patent that “a weight percentage of the dinitrile
26

27   compound is X and a weight percentage of the trinitrile compound is Y, where X and Y meet

28   conditions represented by Formula (1) and Formula (2): about 2 wt %≤(X+Y)≤about 11 wt %.”


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               29.   CosMX has never had any intent to cause its customers or anyone else to infringe
 1

 2   the ’363 Patent.

 3             30.   An actual and justiciable controversy therefore exists between CosMX and ATL

 4   regarding whether any of the CosMX Products have infringed any of the claims of the ’363 Patent.
 5   A judicial declaration is necessary to determine the parties’ respective rights regarding the ’363
 6
     Patent.
 7
               31.   CosMX seeks a judgment declaring that the CosMX Products do not directly or
 8
     indirectly infringe any claims of the ’363 Patent, either literally or under the doctrine of equivalents
 9

10   under 35 U.S.C. § 271 or any sub-section thereof.

11             32.   CosMX further seeks and is entitled to a declaratory judgment that its customers do

12   not and have not infringed under 35 U.S.C. § 271 or any sub-section thereof any claim of the ’363
13
     Patent by using the CosMX Products.
14

15                         COUNT II – DECLARATORY JUDGMENT OF
                        NON-INFRINGEMENT OF U.S. PATENT NO. 10,964,987
16
               33.   CosMX realleges and incorporates paragraphs 1 to 32 as if fully set forth herein.
17
               34.   Upon information and belief, Ningde Amperex Technology Limited is the owner
18

19   of the ’987 Patent, entitled “Separator and Energy Storage Device.” The ’987 Patent issued on

20   March 30, 2021. A true and correct copy of the ’987 Patent is attached as Exhibit 2.

21             35.   The CosMX Products do not infringe the ’987 Patent under any sub-section of
22   35 U.S.C. § 271 because they do not meet all the claim limitations of any claim of the ’987 Patent.
23
               36.   As an example, the CosMX Products do not include a porous layer and therefore
24
     do not meet the requirement of every claim of the ’987 Patent that require “a porous layer arranged
25
     on a surface of the porous substrate.”
26

27             37.   CosMX has never had any intent to cause its customers or anyone else to infringe

28   the ’987 Patent.


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               38.    An actual and justiciable controversy therefore exists between CosMX and ATL
 1

 2   regarding whether any of the CosMX Products have infringed any of the claims of the ’987 Patent.

 3   A judicial declaration is necessary to determine the parties’ respective rights regarding the ’987

 4   Patent.
 5             39.    CosMX seeks a judgment declaring that the CosMX Products do not directly or
 6
     indirectly infringe any claims of the ’987 Patent, either literally or under the doctrine of equivalents
 7
     under 35 U.S.C. § 271 or any sub-section thereof.
 8
               40.    CosMX further seeks and is entitled to a declaratory judgment that its customers do
 9

10   not and have not infringed under 35 U.S.C. § 271 or any sub-section thereof any claim of the ’987

11   Patent by using the CosMX Products.

12
                                               JURY DEMAND
13
               41.    Plaintiff CosMX demands a trial by jury in this matter.
14

15                                        REQUEST FOR RELIEF
16
               WHEREFORE, CosMX respectfully requests the Court enter judgment in its favor and
17
     against Defendant as follows:
18

19      A. Declare that neither CosMX nor the CosMX Products have infringed or do infringe under

20             35 U.S.C. § 271 or any sub-section thereof any claim of the Asserted Patents;

21      B. Declare that CosMX’s customers’ products and/or services have not infringed and do not
22             infringe under 35 U.S.C. § 271 or any sub-section thereof any claim of the Asserted Patents
23
               based on their purported use of the CosMX Products;
24
        C. Enjoin Defendant and its officers, employees and agents from (a) alleging that CosMX or
25
               its customers infringe the Asserted Patents based on their making, using, selling, offering
26

27             for sale, or importing any of the CosMX Products; and (b) taking any action to suggest that

28             CosMX or its customers require a license from Defendant under any Asserted Patent based


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          on their making, using, selling, offering for sale, or importing any CosMX Product.
 1

 2     D. Declare this to be an exceptional case within the meaning of 35 U.S.C. § 285;

 3     E. Award CosMX its costs and reasonable attorneys’ fees incurred in connection with this

 4        action; and
 5     F. Award CosMX such other and further relief as the Court deems just and proper.
 6

 7
     Dated: August 4, 2022
 8
                                               By:     /s/ Yitai Hu
 9                                                     Yitai Hu (SBN 248085)
10                                                     NORTON ROSE FULBRIGHT US LLP
                                                       555 California Street Suite 3300
11                                                     San Francisco, CA 94104
                                                       Tel: (628) 231-6808
12                                                     Fax: (628) 231-6799
                                                       yitai.hu@nortonrosefulbright.com
13
                                                       Charles B. Walker, Jr. (pro hac vice to be
14                                                     filed)
                                                       NORTON ROSE FULBRIGHT US LLP
15                                                     Fulbright Tower
16                                                     1301 McKinney, Suite 5100
                                                       Houston, Texas 77010-3095
17                                                     Tel: (713) 651-5151
                                                       Fax: (713) 651-5246
18                                                     charles.walker@nortonrosefulbright.com
19                                                     Valerie K. Barker (pro hac vice to be filed)
                                                       NORTON ROSE FULBRIGHT US LLP
20
                                                       98 San Jacinto Boulevard, Suite 1100
21                                                     Austin, Texas 78701-4255
                                                       Tel: (512) 536-3073
22                                                     Fax: (512) 536-4598
                                                       valerie.barker@nortonrosefulbright.com
23
                                                       Attorneys for Plaintiff
24                                                     ZHUHAI COSMX BATTERY
25                                                     COMPANY, LIMITED

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